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UNITED STATES DISTRICT COURT

 

BOROUGH OF WALLINGTON,
WITOLD BAGINSKI, an individual
and official capacity as Business '
Administrator of Wallington, SEAN!
KUDLACIK, BERGEN COUNTY:
PROSECUTOR’S OFFICE, JOHN:
AND JANE DOE 1-10

DISTRICT OF NEW JERSEY
Plaintiff(s)
JOSEPH FEHL CIVIL ACTION NO. 2:17 cv 11462
vs. ! (KSH-CLW)
Defendant(s)

 

 

DEFENDANTS BOROUGH OF WALLINGTON AND
SEAN KUDLACIK’S BRIEF IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

 

On the Brief
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Joseph A. Keane, Esq.
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PRELIMINARY STATEMENT

This Motion for Summary Judgment is submitted on behalf of Defendants,
Borough of Wallington (the “Borough”) and Shawn Kudlacik (“Officer Kudlacik”),
a Captain with the Wallington Police Department (“WPD”). Plaintiff alleges civil
liability arising out of his arrest and indictment for insurance fraud and for falsifying
a public document. Defendants contend that this matter is ripe for summary
judgment as Officer Kudlacik had probable cause for Plaintiff's arrest and that he is
immune from suit on the basis of qualified immunity. Similarly, Plaintiff cannot
establish a claim against the Borough of Wallington as a matter of law.

The underlying facts are as follows. Plaintiff Joseph Fehl (“Plaintiff’), a
Wallington volunteer fire fighter, alleged that he was struck by a hit-and-run driver
while he was responding to an emergency call in the early hours of the Fourth of
July holiday. The undisputed evidence establishes that the WPD conducted a
thorough investigation to identify the suspect vehicle that allegedly struck Plaintiff,
as he was “one of their own.” The officers involved were not only concerned for
Plaintiffs safety, but wanted to catch the perpetrator who struck Plaintiff with his
motor vehicle. Originally, Plaintiff reported that a small black car had sped down
the street striking him, throwing him on the hood and carrying him 20 feet away

from the impact. He allegedly lost consciousness as a result of the impact. Plaintiff
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reported the hit-and-run incident to the WPD and to his supervisor and filled out a
First Report of Injury with the Borough, as required.

Despite Plaintiff's claims of being struck by a hit-and-run vehicle, the WPD’s
investigation revealed no evidence whatsoever that a hit-and-run accident had
occurred. The WPD’s investigation did not find any witnesses to the accident,
Plaintiff's version of the events changed numerous times, there was no physical
evidence at the scene-- no skid marks, no glass, no debris, and no evidence of any
serious injury suffered by Plaintiff. The WPD canvassed the area in search ofa small
black car, but no car matching the description was located. The WPD then located,
obtained and reviewed video footage from neighboring homes. In furtherance of the
investigation, the WPD, specifically Officer Kudlacik, interviewed first responders
and two friends of Plaintiff that were “hanging out” in the firehouse prior to the
incident. A detailed review of video surveillance revealed that no cars, other than
Plaintiff's own, had traveled down the street where the accident allegedly happened.

Based on a totality of the circumstances, Officer Kudlacik asked Plaintiff to
report to the police station. After reading Plaintiff his Miranda rights and conducting
a taped interview, Officer Kudlacik consulted with the Bergen County Prosecutor’s
Office (““BCPO”), who advised him to charge Plaintiff with insurance fraud and
falsifying police reports. After speaking to the BCPO, and believing he had probable

cause to arrest Plaintiff, Officer Kudlacik, in accordance with established police
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practices, contacted Judge Sondey, the Municipal Court Judge to present the
evidence. Judge Sondey found probable cause to arrest Plaintiff and executed the
Complaint - Warrant for Plaintiffs arrest on charges of insurance fraud and
falsifying a public document. The matter was later transferred to the BCPO and
presented to a Bergen County Grand Jury, who indicted Plaintiff on all charges.
Although Plaintiff was acquitted, it is undisputed that probable cause was found.

Plaintiff seeks damages for False Arrest, Malicious Prosecution, Abuse of
Process, Free Speech Retaliation and Municipal Liability. As probable cause was
indisputably found by Officer Kudlacik, by Municipal Court Judge Sondey and by
a Bergen County Grand Jury, Plaintiff's claims must fail as a matter of law.

For the reasons set forth herein, Summary Judgment should be granted as
Officer Kudlacik and the Borough are entitled to qualified immunity because the
undisputed facts establish probable cause was independently found, which is fatal to
Plaintiff's claims.

Accordingly, this matter is ripe for summary judgment. Plaintiff's Complaint
must be dismissed with prejudice as there is no genuine issue of material fact to be

decided by a factfinder.
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PROCEDURAL HISTORY

1. Plaintiff filed his eight-count complaint on November 9, 2017, alleging
Defendants violated Federal and New Jersey state law by infringing
upon Plaintiffs constitutional rights.

2. Defendant Bergen County Prosecutor’s Office was voluntarily dismissed
from this action.

3. Discovery concluded pursuant to the Court’s Order on June 17, 2019.

4. Defendants filed a Motion for Summary Judgment on October 23, 2020
(ECF #39).

5. Defendant Baginski filed a cross Motion for Summary Judgment (ECF
#40).

6. On November 12, the Court entered an Order terminating the motions
(ECF #43) requiring Defendants to re-file motions for Summary
Judgment on the discrete issue of the application of qualified immunity
under the circumstances of the case.

7. Defendants Borough of Wallington and Officer Kudlacik now move for

Summary Judgment.
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STATEMENT OF FACTS

Plaintiff was charged with insurance fraud and falsifying a police report after
reporting that he was the victim of a hit-and-run accident (McDonnell Cert., at Exhibit
“T’). The WPD, under the direction of Officer Kudlacik, investigated the allegations
fervently as Plaintiff was “one of their own” serving as a volunteer with the Borough
Fire Department (McDonnell Cert., at Exhibits “E” - “S”). After the WPD
investigation revealed no physical evidence at the scene of the alleged accident,
injuries inconsistent with Plaintiff's account, surveillance video revealing no car
traveling down the street of the alleged accident, Officer Kudlacik called Plaintiff
down to the station for an interview. After reading Plaintiff his Miranda rights
(McDonnell Cert., at Exhibit “N’) Officer Kudlacik conducted a taped interview of
Plaintiff and found there to be probable cause for his arrest (McDonnell Cert., at
Exhibit “O”). Before charging Plaintiff, he consulted with the BCPO, and called
Municipal Court Judge Sondey to obtain probable cause. Judge Sondey found probable
cause for the arrest and authorized the issuance of a Complaint-Warrant (McDonnell
Cert., at Exhibit “P”). Officer Kudlacik then arrested Plaintiff and charged him with
insurance fraud (N.J.S.A. § 2C:21-4.6) and tampering with public records or
information (N.J.S.A. § 2C:28-7a) (McDonnell Cert., at Exhibits “E” and “P”). The
matter was later turned over to the BCPO for investigation, and the matter was

presented to a Bergen County Grand Jury (McDonnell Cert., at Exhibit “Q”). Plaintiff

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was indicted on all charges, prima facie evidence of a finding of probable cause
(McDonnell Cert., at Exhibit “R”). Following a jury trial, Plaintiff was found not
guilty (McDonnell Cert., at Exhibit “S”) and the charges were dismissed.

With respect to the happening of the underlying incident, on the night of July
3, 2014, Plaintiff, a volunteer firefighter for the Borough, was “hanging out” at the
firehouse with two friends, who were not members of the Wallington Fire
Department. By Plaintiffs own account, he left the firehouse to get “chips” leaving
his friends at the firehouse (McDonnell Certif., Exhibit “X” at p. 66:25 — p. 67:1-9).
Upon his return, an emergency call came in. Plaintiff testified he returned to the
station to drop off the chips and as he was returning to his vehicle, he was struck by
a car that fled the scene (Id. at p. 71:20-22). Plaintiff's account of the incident varies,
but in one account, he alleges that he was thrown 20 feet in the air. (McDonnell
Cert., at Exhibit “B”). Plaintiff called 911 and told the responding Borough police
officer that he was injured as the result of a hit-and-run accident (McDonnell Cert.,
at Exhibit “B”). Plaintiff was admitted to Hackensack University Medical Center on
July 3, 2014 and released on July 6, 2014 (McDonnell Cert., at Exhibit “L”).

Plaintiff completed a First Report of Injury form for submission to Bergen
Risk Managers because he was injured while on duty (McDonnell Cert., at Exhibit
“D”). The WPD investigated Plaintiff's alleged accident and found there to be no

evidence of a hit-and-run (McDonnell Cert., at Exhibit “G”). On August 5, 2014,
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Plaintiff gave a sworn statement regarding his version of events to Officer Kudlacik
(McDonnell Cert., at Exhibit “H”).

Officer Kudlacik believed there to be probable cause, consulted with the
BCPO who found probable cause, and called Judge Sondey who also found probable
cause. A complaint-warrant for Plaintiff's arrest was issued. On August 5, 2014,
Plaintiff was charged with insurance fraud (N.J.S.A. § 2C:21-4.6A) and tampering
with public records or information (N.J.S.A. § 2C:28-7A(1) (McDonnell Cert., at
Exhibit “T’). Plaintiff was released from the custody of the WPD on August 5, 2014
after bail was posted on his behalf (McDonnell Cert., at Exhibit “J”).

On August 6, 2014, Bergen Risk Managers denied Plaintiff's claim
(McDonnell Cert., at Exhibit “J’’) finding that there would be no coverage under the
Borough’s Worker’s Compensation plan (McDonnell Cert., at Exhibit “K”).

On March 17, 2015, a Bergen County Grand Jury indicted Plaintiff for
insurance fraud (N.J.S.A. § 2C:21-4.6A) and tampering with public records or.
information (N.J.S.A. § 2C:28-7A(1) (McDonnell Cert. at Exhibit “R”). On January
19, 2018, the Honorable Christopher R. Kazlau, J.S.C. presided over a jury trial in
the Superior Court of New Jersey, Bergen Vicinage, Criminal Part, in which the
charges were dismissed after the jury found Plaintiff to be not guilty (McDonnell

Cert., at Exhibit “S”).
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LEGAL ARGUMENT

POINT I: DEFENDANTS BOROUGH OF
WALLINGTON AND OFFICER KUDLACIK ARE
ENTITLED TO QUALIFIED IMMUNITY

The doctrine of qualified immunity shields government officials “from
liability for civil damages insofar as their conduct does not violated clearly
established statutory or constitutional rights of which a reasonable person would

have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 73. L. Ed.

 

2d 396 (1982). The doctrine protects public officials “from undue interference with
their duties and from potentially disabling threats of liability.” Wright v. City of
Philadelphia, 409 F.3d 595, 599 (3d. Cir. 2005). In accordance with this doctrine,
government officials will be immune from suit in their official capacities unless,
“taken in the light most favorable to the party asserting the injury . . .the facts alleged
show the officer’s conduct violated a constitutional right” and “the right was clearly
established at the time of the objectionable conduct. Saucier v. Katz, 533 U.S. 194,

201, 121 S. Ct. 2151, 150 L. Ed. 2d 272 (2001).

The United States Supreme Court has held that the Saucier inquiry is no longer
mandatory, and that "judges of the district courts and the courts of appeals should be
permitted to exercise their sound discretion in deciding which of the two prongs of
the qualified immunity analysis should be addressed first in light of the

circumstances in the particular case at hand." Pearson v. Callahan, 129 S. Ct. 808,

 
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813, 172 L. Ed. 2d 565 (2009). Pearson thus makes clear that "Qualified Immunity"
consists of two prongs: Whether a constitutional right was violated, and whether that
right was clearly established. Ifthe answer to either inquiry is no, qualified immunity
is appropriate.

Qualified immunity "gives government officials breathing room to make
reasonable but mistaken judgments," protecting "all but the plainly incompetent or

those who knowingly violate the law." Messerschmidt v. Millender, 132 S. Ct. 1235,

 

1244, 182 L. Ed. 2d 47 (2012) (internal quotation marks & citations omitted). It is
well settled that “[glovernment officials performing discretionary functions,
generally are shielded from liability for civil damages insofar as their conduct does
not violate clearly established statutory or constitutional rights of which a reasonable
person would have known.” Harlow, 457 U.S. at 818, 73 L. Ed. 2d 396, 102 S. Ct.
2727.

As set forth below, Defendants are entitled to the affirmative defense of
qualified immunity. First, Officer Kudlacik is a government official who was
reasonably performing the discretionary functions of his job and did not violate
Plaintiff's clearly established rights. Second, Officer Kudlacik did not take any
action against Plaintiff with the malicious intention of violating his rights. As the
undisputed facts show, Officer Kudlacik reasonably believed that Plaintiff had

committed a crime. In fact, probable cause was found not only by Officer Kudlacik,
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but also by the BCPO, Municipal Court Judge Sondey and by a Bergen County
Grand Jury. Further, he executed the standard processes of investigating and
prosecuting a crime. On the facts presented Officer Kudlacik could not have
reasonably expected that his conduct, would transgress clearly established
constitutional norms and is therefore entitled to qualified immunity as a matter of

law.

A. Defendants are Entitled to Qualified Immunity because
Officer Kudlacik had Lawful Authority to Arrest Plaintiff.
therefore Plaintiff's False Arrest Claim Fails

In Count Two of his Complaint, Plaintiff alleges a False Arrest claim under
Federal law. This claim cannot be sustained as a matter of law. The Fourth
Amendment protects “[t]he right of the people to be secure in their persons, houses,
papers, and effects, against unreasonable searches and _ seizures.” An
arrest qualifies as a “seizure” of a “person” under this provision and so must be

reasonable under the circumstances. Dunaway v. New York, 442 U.S. 200, 207-208,

 

99 S. Ct. 2248, 60 L. Ed. 2d 824 (1979). In terms of searches and seizures, state law
enforcement officials making judgments in connection with searches and seizures

are performing functions sufficiently discretionary to qualify for the immunity
defense. Good v. Dauphin Cty. Soc. Servs. for Children & Youth, 891 F.2d 1087,

1091 (3d Cir. 1989).

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The Fourth Amendment requires that arrest warrants be based “upon probable
cause, supported by Oath or affirmation” Const. Amend IV; Kalina v. Fletcher, 522
U.S. 118, 130, 118 S. Ct. 502, 139 L. Ed. 2d 471 (1997). The Supreme Court has
held that there is “a presumption of validity with respect to the affidavit supporting
[a] search warrant.” Franks v. Delaware, 438 U.S. 154, 171, 98 S. Ct. 2674, 57 L.
Ed. 2d 667 (1978). This presumption of validity applies with equal force to arrest
warrants. See Wilson v. Russo, 212 F.3d 781, 786 (3d Cir. 2000). Therefore, in order
to rebut this presumption and successfully assert a § 1983 claim for a Fourth
Amendment violation due to a false arrest, a plaintiff is required to prove that (1) the
officer “knowingly and deliberately, or with a reckless disregard for the truth, made
false statements or omissions that create a falsehood in applying for a warrant;” and
(2) that “such statements or omissions are material, or necessary, to the finding
of probable cause.” Wilson, 212 F.3d at 786-87 (internal quotation marks and
citations omitted); see also, Franks, 438 U.S. at 171 (1978); Sherwood v. Mulvihill,
113 F.3d 396, 399 (3d Cir. 1997). In conducting this analysis, it is important to
establish from the outset that an officer is not obligated to include every single fact
unearthed or procedure used during the course of a _ criminal

investigation. See Wilson, 212 F.3d at 787.

Proving reckless disregard for the truth requires more than a mere showing of

“negligence or innocent mistake.” See id. (quoting United States v. Davis, 617 F.2d

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677, 694, 199 U.S. App. D.C. 95 (D.C. Cir. 1979)). The Third Circuit has established
the standard for a finding of “reckless disregard for the truth” for both misstatements

and omissions as follows:

In evaluating a claim that an officer both asserted and
omitted facts with reckless disregard for the truth, we hold
that: (1) omissions are made with reckless disregard for
the truth when an officer recklessly omits facts that any
reasonable person would know that a judge would want to
know; and (2) assertions are made with reckless disregard
for the truth when an officer has obvious reasons to doubt
the truth of what he or she is asserting.

Id. at 783.

When arresting and charging Plaintiff, Officer Kudlacik was performing a
discretionary function and did not clearly violate established statutory or
constitutional rights. In fact, he followed the appropriate procedures that were
designed to protect the established statutory and constitutional rights of those
arrested, including conducting a thorough investigation of the matter including
conducting interviews and reviewing video surveillance. Officer Kudlacik was not
obligated to include every single fact unearthed in his investigation and used his
discretion to rely on other evidence. After determining that he had probable cause to
charge and arrest Plaintiff he consulted with the BCPO, and went through the proper
procedure to acquire an arrest warrant from the municipal court judge. Judge Sondey

found probable cause, determined an arrest warrant was appropriate, and a

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complaint-warrant for Plaintiff's arrest was issued (see McDonnell Cert. Exhibit

“T’). Officer Kudlacik then executed the warrant and lawfully arrested Plaintiff.

To establish a Fourth Amendment claim for False Arrest, Plaintiff must
demonstrate that Officer Kudlacik lacked probable cause to arrest him. Dowling v.
City of Phila., 855 F.2d 136, 141 (3d Cir. 1988); Pollock v. City of Phila., 403 Fed.
App’x 664, 669 (3d Cir. 2010). “Probable cause exists whenever reasonably
trustworthy information or circumstances within a police officer’s knowledge are
sufficient to warrant a person of reasonable caution to conclude that an offense has
been committed by the person being arrested.” United States v. Myers, 308 F.3d 251,
255 (3d Cir. 2002). At the heart of the inquiry is the reasonableness of the officer’s
actions in light of the circumstances known at the time of the incident. “[I]n
analyzing false arrest claims, a court to insulate a defendant from liability need find
only that ‘ [p]robable cause... exist[ed] as to any offense that could be charged under

the circumstances.’”” Johnson v. Knorr, 477 F.3d 75, 85 (3d Cir.

 

2007) (quoting Barna v. City of Perth Amboy, 42 F.3d 809, 819 (3d Cir. 1994)). We

 

ask whether “the circumstances, viewed objectively, justify [the challenged]

action.” Scott v. United States, 436 U.S. 128, 138, 98 S. Ct. 1717, 56 L. Ed. 2d 168

 

(1978). If so, that action was reasonable “whatever the subjective intent” motivating
the relevant officials. Whren v. United States, 517 U.S. 806, 814, 116 S. Ct. 1769,
135 L. Ed. 2d 89 (1996).

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Plaintiff cannot establish a Federal False Arrest Claim as a matter of law
because a totality of the circumstances established probable cause. There can be no
dispute that Officer Kudlacik’s arrest of the Plaintiff was based on probable cause.
A probable cause finding is fatal to Plaintiff’s false arrest claims. The Court held in
District of Columbia v. Wesby, 138 S. Ct. 577, 586, 199 L.Ed.2d 453, 463 (2018)
that to determine whether an officer had probable cause for an arrest, “we examine
the events leading up to the arrest, and then decide ‘whether these historical facts,
viewed from the standpoint of an objectively reasonable police officer, amount to’
probable cause.” Maryland v. Pringle, 540 U. S. 366, 371, 124 S. Ct. 795, 157 L. Ed.
2d 769 (2003) (quoting Omelas v. United States, 517 U. S. 690, 696, 116 S. Ct.
1657, 134 L. Ed. 2d 911 (1996)). And that because probable cause “deals with
probabilities and depends on the totality of the circumstances,” (Maryland v. Pringle,
540 U.S. at 371, 124 S. Ct. 795, 157 L. Ed. 2d 769) it is “a fluid concept” that is
“not readily, or even usefully, reduced to a neat set of legal rules,” Illinois v. Gates,
462 U.S. 213, 232, 103 S. Ct. 2317, 76 L. Ed. 2d 527 (1983). Therefore, a finding
of probable cause “requires only a probability or substantial chance of criminal
activity, not an actual showing of such activity.” Jd., at 243-244, n. 13, 103 S. Ct.
2317, 76 L. Ed. 2d 527 (1983). As such, probable cause “is not a high
bar.” Kaley v. United States, 571 U. S. 320, 338, 571 U.S. 320, 134 S. Ct. 1090,

1103, 188 L. Ed. 2d 46, 62 (2014). Under the prevailing view in this country, a peace

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officer who arrests someone with probable cause is not liable for false arrest simply
because the innocence of the suspect is later proved. Restatement, Second, Torts §
121 (1965); Pierson v. Ray, 386 U.S. 547, 555, 87 S. Ct. 1213, 1218, 18 L-Ed.2d
288, 295 (1967). The fact that a criminal defendant was ultimately acquitted is

irrelevant to the probable cause analysis. Michigan v. DeFillipo, 443 U.S. 31, 36. 99

 

S. Ct. 2697, 61 L. Ed. 2d 343 (1979).

The undisputed evidence establishes that considering the totality of the
circumstances, Officer Kudlacik unequivocally had probable cause to arrest
Plaintiff. Plaintiff had reported this incident to both the WPD via a911 call and filled
out a First Report of Injury Form (“FROI’) with the Borough which begins the
process for a workers compensation claim. The WPD, when faced with an allegation
that one of their own volunteer first responders alleged he had been the victim of a
hit-and-run accident, responded quickly and devoted the Borough’s full resources to
find the suspect. A full investigation ensued. Initially, to ensure that Plaintiff
received medical attention, and secondly, to find the suspect who had struck Plaintiff
and then fled the scene. At the scene of the alleged accident, the investigation failed
to find debris associated with a motor vehicle accident--no glass, no car parts, and
no torn articles of clothing. Plaintiff gave inconsistent statements. His cell phone
did not break. His injuries were not consistent with being thrown 20 feet as alleged.
In addition, the neighborhood was canvassed and security camera footage from area

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residences in the area was obtained and reviewed. The video surveillance failed to
show any vehicles in the vicinity of the accident at the time of the alleged incident

(see McDonnell Cert. Exhibit “G”).

Further, once the investigation of the scene was completed, Officer Kudlacik
requested Plaintiff visit the station for questioning. Plaintiff volunteered to attend
and subsequently waived his right to an attorney after being given his Miranda
Rights (McDonnell Cert., at Exhibits “N” and “O” at page 2 to 3). During the
interrogation, Officer Kudlacik asked Plaintiff whether he was involved in a hit-and-
run, and Plaintiff was adamant that he believed he was (Id. at page 4 to 5). After the
interrogation, and based on the investigation of the accident, Officer Kudlacik
determined that he had probable cause to arrest Plaintiff because of Plaintiff's
inconsistent statements and the lack of physical evidence (McDonnell Cert., at
Exhibits “E” and “T’). He consulted with the BCPO who advised him on the charges
and also agreed that he had probable cause to make the arrest. Officer Kudlacik then
called the Municipal Court Judge Casmir Sondey, to request a warrant for Plaintiff's
arrest. Judge Sondey found probable cause and indicated his finding on the warrant
(McDonnell Cert., at Exhibit “P”). A warrant was then issued for Plaintiff's arrest.
(Id.). Plaintiff was arrested for insurance fraud (N.J.S.A. § 2C:21-4.6A) and altering

public documents (N.J.S.A. § 2C:28-7A(1)) and held at the station (Id.). He posted

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bail and was released. A Bergen County Grand Jury later indicted plaintiff on the

charges (McDonnell Cert., at Exhibit “R”).

When looking at the totality of the circumstances, it is clear that Officer
Kudlacik had probable cause to arrest Plaintiff. An investigation into his claim of a
hit and run was completed and Plaintiff was interrogated (McDonnell Cert. Exhibit
“E” and “O”). Officer Kudlacik determined that the evidence pointed to Plaintiff
making a false claim to the insurance company for insurance benefits when there
was no evidence of a hit-and-run. Id. Similarly, Plaintiff falsified an official
document by claiming there was an accident when the evidence showed that there
was none (McDonnell Cert., at Exhibits “E” and “F”). Accordingly, Officer
Kudlacik had probable cause to arrest Plaintiff. As the Court has held, the test is not
whether the alleged criminal is ultimately found guilty of the crime he is accused of,
but whether there is a “probability or substantial chance of criminal activity.”
‘Ilinois v. Gates, 462 U. S. at 243-244, n. 13, 103 S. Ct. 2317, 76 L. Ed. 2d 527
(1983). Based on the evidence before him, Officer Kudlacik believed that there was
a substantial chance of criminal activity. The fact that Plaintiff was not found guilty
of the crimes has no bearing on whether there was probable cause for his arrest.
Pierson, 386 U.S. at 555, 87S. Ct. at 1218, 18 L.Ed.2d at 295. Finally, while Plaintiff

may allege Defendants conspired to arrest him, the subjective intent of the arresting

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officer is not taken into consideration when the circumstances surrounding the arrest

are reasonable. Whren, 517 U.S. at 814, 116 S. Ct. at 1769, 135 L. Ed. 2d at 89.

Assuming all facts in Plaintiff's favor, the Defendants conduct was based on
probable cause found by the BCPO, Judge Sondey and a Bergen County Grand Jury.
Therefore, Plaintiff cannot sustain his burden of proof on his false arrest claims as a
matter of law. Accordingly, Defendants did not violate Plaintiffs rights and are

entitled to qualified immunity.

B, Plaintiff's Claim that he was Falsely Imprisoned Fails
because Officer Kudlacik had Lawful Authority to Arrest
Plaintiff, therefore Defendants are Entitled to Qualified

Immunity

False arrest and false imprisonment overlap; the former is a species of the

 

 

latter. “Every confinement of the person is an imprisonment, whether it be in a
common prison or in a private house, or in the stocks, or even by forcibly detaining
one in the public streets; and when a man is lawfully in a house, it is imprisonment
to prevent him from leaving the room in which he is.” M. Newell, Law of Malicious
Prosecution, False Imprisonment, and Abuse of Legal Process § 2, p 57 (1892);
Wallace v. Kato, 549 U.S. 384, 388-89, 127 S. Ct. 1091, 1095, 166 L.Ed.2d 973,
980-81 (2007). The sort of unlawful detention remediable by the tort
of false imprisonment is detention without legal process. Id. at 389, 127 S. Ct. at

1095, 166 L.Ed.2d 973, 981 (2007). Where probable cause to make an arrest does

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not exist, the Plaintiff also has a § 1983 claim “for false imprisonment based on a
detention pursuant to the arrest.” Groman v. Township of Manalapan, 47 F.3d 628,
636 (3d Cir. 1995). Where probable cause to make an arrest does exist, Plaintiff may

not recover under 42 U.S.C. § 1983. See, e.g. McDermott v. City of New York, 2002

 

USS. Dist. LEXIS 2893, 2002 WL 265127, *7 (S.D.N.Y.) (because probable cause to

arrest existed, Plaintiff's false arrest and invasion of privacy claims were dismissed).

Plaintiff was provided legal process throughout the entire proceeding with
Officer Kudlacik that concluded with his arrest. Plaintiff volunteered to come to the
police station and was not coerced (see McDonnell Cert. Exhibit “H”). He
volunteered to be interrogated and waived his right to an attorney (Id.). Officer
Kudlacik did not in any way deceive Plaintiff or force him to discuss the matter with
him without the presence of an attorney. Following the interrogation, a warrant was
applied for and granted in accordance with standard legal procedures (see
McDonnell Cert. Exhibit “T’’). Plaintiff was then arrested and released on bail later
that day (see McDonnell Cert. Exhibit “J”). Therefore, because Officer Kudlacik
had probable cause to arrest Plaintiff and Plaintiff was given the legal process that
he was entitled to, his §1983 claim for false arrest must fail. Accordingly,

Defendants did not violate Plaintiff's rights and are entitled to qualified immunity.

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C. Officer Kudlacik Did Not Maliciously Prosecute
Plaintiff because he had Probable Cause to Charge and
Arrest Him, therefore Defendants are Entitled to Qualified

Immunity

In Count Four of the Complaint, Plaintiff alleges Malicious Prosecution under
Federal Law, under 42 U.S.C. § 1983. Similar to the arguments set forth above,
these claims also fail as a matter of law because probable cause was found by Officer

Kudlacik, Judge Sondey and a Bergen County Grand Jury.

Plaintiff cannot establish a claim for Malicious Prosecution against Officer
Kudlacik within the framework of Federal case law, as he clearly did not violate
Plaintiff's rights. In Heck v. Humphrey, 512 U.S. 477, (1994) our Supreme Court
determined the standards to recover under a malicious prosecution claim. It was held

that,

[I]In order to recover damages for allegedly
unconstitutional conviction or imprisonment, or for other
harm caused by actions whose unlawfulness would render
a conviction or sentence invalid, a § 1983 plaintiff must
prove that the conviction or sentence has been reversed on
direct appeal, expunged by executive order, declared
invalid by a state tribunal authorized to make such
_ determination, or called into question by a federal court’s
issuance of a writ of habeas corpus, 28 U.S.C. § 2254. A
claim for damages bearing that relationship to a conviction
or sentence that has notbeen so invalidated is not
cognizable under § 1983. Thus, when a state prisoner see
damages in a § 1983 suit, the district court must consider
whether a judgment in favor of the plaintiff would
necessarily imply the invalidity of his conviction or
sentence; if it would, the complaint must be dismissed

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unless the plaintiff can demonstrate that the conviction or
sentence has already been invalidated. But if the district
court determines that the plaintiff's action, even if
successful, will not demonstrate the invalidity of any
outstanding criminal judgment against the plaintiff, the
action should be allowed to proceed, in the absence of
some other bar to the suit.

[Heck v. Humphrey, 512 U.S. 477, 486-87 (1994)]

As with claims for false arrest and false imprisonment, a malicious
prosecution claim under § 1983 requires a showing that the arrest, physical restraint,
or prosecution was initiated without probable cause. To prove malicious
prosecution under § 1983 when the claim is asserted under the Fourth Amendment,
a plaintiff must show that: (1) the defendant initiated a criminal proceeding; (2) the
criminal proceeding ended in his favor; (3) the defendant initiated the proceeding
without probable cause; (4) the defendant acted maliciously or for a purpose other
than bringing the plaintiff to justice; and (5) the plaintiff suffered deprivation of
liberty consistent with the concept of seizure as a consequence of a legal
proceeding. Kossler v. Crisanti, 564 F.3d 181, 186 (3d Cir. 2009); Johnson v. Knorr,
477 F.3d 75, 81-82 (3d Cir. 2007). “Malicious prosecution differs from false arrest
inasmuch as ‘[a] claim for false arrest, unlike a claim for malicious prosecution,
covers damages only for the time of detention until the issuance of process or
arraignment, and not more.” Johnson, 477 F.3d at 82 (quoting Montgomery v. De

Simone, 159 F.3d 120, 126 (3d Cir. 1998)).

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As each of these elements must exist in order to make out a claim, the Third
Circuit has made it abundantly clear that the existence of probable cause with
respect to a charged offense negates a claim for malicious prosecution. See
é.g., Johnson, 477 F.3d at 82; The fact that a criminal defendant was ultimately
acquitted does not imply that there was no probable cause to charge him; in fact, the
disposition of the charge is “irrelevant to the probable cause analysis “ Wright v.
City of Phila., 409 F.3d 595, 603-04 (3d Cir. 2005) (explaining that in order “[t]o
prevail on [a malicious prosecution] claim, [the plaintiff] must show that the officers
lacked probable cause to arrest her”); Barna, 42 F.3d at 820-21. Thus, as is the case
with Plaintiff's false arrest claim, the Court is required to discern whether probable
cause existed based on the totality of circumstances in addressing the malicious

prosecution claim.

Here, Plaintiff has not proven that the charges against him were
unconstitutional. Officer Kudlacik found there to be probable cause for an arrest and
a watrant was issued after the Municipal Court Judge also found probable cause
(McDonnell Cert., at Exhibit “P”). A grand jury found cause to indict Plaintiff (see
McDonnell Cert. Exhibit “R”). Although a jury determined that Plaintiff was not
guilty of the charges (McDonnell Cert., at Exhibit “S”), an acquittal is not the
equivalent of the conviction or sentence being reversed on direct appeal, expunged

by executive order, declared invalid by a state tribunal authorized to make such

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determination, or called into question by a federal court’s issuance of a writ of habeas
corpus. One of which is required to prevail on a malicious prosecution claim under
§ 1983. Therefore, summary judgment should be granted to Defendants on the
Federal Malicious Prosecution claims. Accordingly, Defendants did not violate

Plaintiffs rights and are entitled to qualified immunity.

D. Defendants Did Not Commit an Abuse of Process in
Charging and Arresting Plaintiff and are therefore
Entitled to Qualified Immunity

 

Defendants did not violate Plaintiffs § 1983 rights by charging him and
arresting him. This court held that the gist of the tort of abuse of process is “the
misuse of process justified in itself for a purpose other than that which it was
designed to accomplish, and the essential elements are an ulterior motive and some

further act after the issuance of process representing the perversion of the legitimate

use of the process.” Simone v. Golden Nugget Hotel & Casino, 844 F.2d 1031, 1036-

 

37 (3d Cir. 1988).

“Process,” which is defined narrowlyin the context of the tort
of abuse of process, because it refers not to “all proceedings in a legal action,” but
rather to “certain products of litigation that a court issues, such as a ‘summons,
mandate, or writ used by a court to compel the appearance of the defendant ina legal

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action or compliance with its orders.’” Jewett v. IDT Corp., No. 04-1454, 2007 ULS.
Dist. LEXIS 67284, at *7 (D.N.J. Sept. 11, 2007) (quoting Ruberton v. Gabage, 280

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N.J. Super. 125, 131, 654 A.2d 1002 (App. Div. 1995)). In other words, this narrow
use of “process” must be distinguished from the general use, as being “the whole

course of proceedings in a legal action.” Ruberton, 280 N.J. Super at 131.

“Further acts” may be met by pleading that a party “had secured issuance of
the process without reason or probable cause as evidence that [its] ultimate intent
was to use it for a purpose ulterior to the one for which it was designed.” Tedards v.
Auty, 232 N.J. Super 541, 550, 557 A.2d 1030 (App. Div. 1989)(citing Soos v. Soos,
14.N.J. Misc. 381, 185 A. 386 (N.J. Ch. 1936)). As such, the ulterior motive can be
inferred from the “improper act.” See Rojas v. City of New Brunswick, No. 04-3195,
2008 U.S. Dist. LEXIS 57974, at *87 (D.N.J. Jun. 4, 2008) (citing Ash v. Cohn, 119
NJ. 54, 194 A. 174 (1937)). If the act is proper, however, the motive is
immaterial, see Rojas, 2008 U.S. Dist. LEXIS 57974 at *87 (internal citation
omitted), because “[i]n the absence of some coercive or illegitimate use of the
judicial process, there can be no claim for its abuse.” See Id. (citing Penwag Prop.

Co. v. Landau, 148 N.J. Super 493, 499, 372 A.2d 1162 (App. Div. 1977)).

Here, Officer Kudlacik made a proper arrest authorized by law (McDonnell
Cert., at Exhibit “R”). There is no evidence whatsoever that Officer Kudlacik had an
ulterior motive for arresting Plaintiff. It remains undisputed that the evidence before
Officer Kudlacik revealed probable cause that Plaintiff committed a criminal act

(McDonnell Cert. Exhibit “E” and “R”). Accordingly, Plaintiff's claim of abuse of
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process must fail and summary judgment should be granted to Defendants as a
matter of law. As such, because Defendants did not violate Plaintiffs § 1983 rights,

they are entitled to qualified immunity.

E. Plaintiff's § 1983 Retaliation Claim Must Fail because
Officer Kudlacik Had Probable Cause to Charge and
Arrest Plaintiff, therefore Defendants are Entitled to

Qualified Immunity

In order to plead a retaliation claim under the First Amendment, a plaintiff
must allege: (1) constitutionally protected conduct, (2) retaliatory action sufficient
to deter a person of ordinary firmness from exercising his constitutional rights, and
(3) a causal link between the constitutionally protected conduct and the retaliatory
action. Thomas v. Indep. Twp., 463 F.3d 285, 296 (3d Cir. 2006). The threshold
requirement is that the plaintiff identify the protected activity that allegedly spurred

the retaliation. Eichenlaub v. Twp. of Ind., 385 F.3d 274, 282 (3d Cir. 2004). Here,

 

Plaintiff plead that when he “complained to municipal entities, Wallington
firefighters, the State of New Jersey, government officials, media sources, and/or
other citizens in the Borough of Wallington about the allocation and potential
misappropriation of public resources” (McDonnell Cert., at Exhibit “A” at § 138) he
was engaged in a protected constitutional activity, thus satisfying the first prong.
Next, he plead that Defendants retaliated against him by charging him with the
aforementioned crimes as part of a policy of retaliation against persons exercising

their right to free speech, thus satisfying the second prong. Finally, Plaintiff plead
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that the exercise of his right to free speech led to Defendants retaliating against him.
However, Plaintiff has not substantiated his claim that there is a causal connection

between his protected speech and the retaliation.

Additionally, the presence of probable cause should generally defeat
a First Amendment retaliatory arrest claim. Nieves v. Bartlett, 139 S. Ct. 1715,
1726, 204 L.Ed.2d 1, 14 (2019). The analysis here is similar to that of a malicious
prosecution claim. The Court in Nieves, generally followed the precedent set forth

in Hartman v. Moore. In Hartman, a respondent chief executive officer brought an

 

action against co-respondent postal inspectors for allegedly engineering the chief
executive officer’s criminal prosecution for his criticism of the United State Postal
Service in violation of the First Amendment. The Court ultimately held that some
evidence had to link the inspectors to the prosecutor, and the connection to be alleged
and shown, was the absence of probable cause see generally, Hartman v. Moore, 547
U.S. 250, 126 S. Ct. 1695, 164 L.Ed.2d 441 (2006). Absent such a showing, a
retaliatory prosecution claim fails. But if the plaintiff establishes the absence of ~
probable cause then the plaintiff must show that the retaliation was a substantial or
motivating factor behind the arrest, and, if that showing is made, the defendant can
prevail only by showing that the arrest would have been initiated without respect to
retaliation. Id. at 547 U. S., at 265-266, 126 S. Ct. 1695, 164 L. Ed. 2d 441).
“Thus, Hartman requires plaintiffs in retaliatory prosecution cases to show more

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than the subjective animus of an officer and a subsequent injury; plaintiffs must also
prove as a threshold matter that the decision to press charges was objectively

unreasonable because it was not supported by probable cause.” Nieves, 139 S. Ct. at

1722-23.

Plaintiff was charged and arrested after Officer Kudlacik determined that
there was probable cause to do so and Judge Sondey affirmed and issued a warrant
for Plaintiffs arrest (McDonnell Cert., at Exhibit “R”). As such, this threshold
matter is resolved in favor oof Defendants and _ defeats
Plaintiff's First Amendment retaliatory arrest claim. Nieves, 139 S. Ct. at 1726.
Next, the record is void of any evidence that Officer Kudlacik held any subjective
animus towards Plaintiff, in fact, Plaintiff only alleges that Defendant Baginski held
any type of animus towards him (McDonnell Cert. Exhibit “A” at paragraphs 18-
22). As such, Plaintiff cannot establish that there was any animus by Officer
Kudlacik, let alone more than subjective animus, that led to the charges being

brought, as is required under Nieves.

Without any connection between the alleged animus and the charges, there is
no evidence that the prosecution was retaliation for his constitutionally protected
speech. Officer Kudlacik did not attend public meetings regularly unless he was
providing security (see McDonnell Cert. Exhibit “N” at 15:13 to 22). As such, he

was unaware that Plaintiff was outspoken about what he perceived to be corrupt acts

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by Borough officials. Officer Kudlacik estimated that he spoke with Defendant
Baginski every other month when he had an issue with payroll or other work-related
issues (Id. at 13:12 to 15:2). Defendant Baginski confirmed that he did not regularly
speak with Officer Kudlacik but has known him for around twenty years, “not any
more than hello, good-bye” (McDonnell Cert., at Exhibit “Z” p. 12:5-23).
Accordingly, Plaintiff has not shown that there was a connection between Officer
Kudlacik and Defendant Baginski, who was allegedly motivated to retaliate against
Plaintiff (McDonnell Cert., at Exhibit “A” at paragraph 18). Not only did Officer
Kudlacik have probable cause to charge and arrest Plaintiff based on the evidence
before him but Plaintiff has failed to prove that it was objectively unreasonable to
press the charges as is required by Hartman. Therefore, Plaintiff's §1983 claim of

free speech retaliation cannot be sustained.

Accordingly, Defendants are entitled to qualified immunity. In the context
of First Amendment retaliation, qualified immunity depends on “whether officials
reasonably could believe that their motives were proper even when their motivations
were in fact retaliatory.” Larsen v. Senate of the Commonwealth, 154 F.3d 82, 94
(1998). This type of inquiry ordinarily cannot be determined on the face of the
pleadings and can only be resolved after factual inquiry. Jd. Here, we have a full
factual record. Officer Kudlacik and the Borough are entitled
to qualified immunity because the evidence produced during discovery shows that

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Officer Kudlacik could have reasonably believed that his motives were proper.
Further, Plaintiffs discovery materials yielded no evidence that would prove
otherwise. Instead, his claim relies on allegations that merely restate the conclusory
assertions in his complaint and carry no evidentiary weight. Therefore, Officer

Kudlacik and the Borough are entitled to qualified immunity as a matter of law.

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POINT Il: DEFENDANT BOROUGH OF
WALLINGTON CANNOT BE LIABLE FOR
VIOLATING PLAINTIFF’S §1983 RIGHTS

The Borough of Wallington can only be held liable under § 1983 “if it can be
shown that its employees violated Plaintiffs civil rights as a result of a municipal
policy or custom.” Williams v. Borough of W. Chester, Pa, 891 F.2d 458, 467 Gd
Cir. 1989) citing Monell v. New York City Department of Social Services, 436 U.S.
658, 98S. Ct. 2018, 56 L. Ed. 2d 611 (1978). Plaintiff alleges such a claim in Count
VIII, Municipal Liability, of this Complaint. Specifically, Plaintiff asserts that the
Borough has a policy of retaliating against property owners that take legal action or
exercise their right to freedom of speech by directing the WPD to file false reports
and frivolous complaints against citizens (see Exhibit “A” 9 155 — 156). Although,
“[A] municipality can be held liable as a person under section 1983 when it
unconstitutionally implements or enforces ‘a policy statement, ordinance,
regulation, or decision officially adopted and promulgated by’ the officers of that
municipality.” Langford v. City of Atlantic City, 235 F.3d 845, 847 (3d Cir. 2000)

(quoting Monell v. New York Dep’t Of Soc. Servs., 436 U.S. 658, 690 (1978)). “It

 

is when execution of a government’s policy or custom, whether made by its
lawmakers or by those whose edicts or acts may fairly be said to represent official
policy, inflicts the injury that the government as an entity is responsible under §

1983.” Id. at 848.

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Specifically,

[A] municipality may only be liable for the torts of its
employees in one of three ways: First, the municipality
will be liable if its employee acted pursuant to a formal
government policy or a standard operating procedure long
accepted within the government entity, Jett_v. Dallas
Independent _ School __ District, 491 US. 701
(1989); second, liability will attach when the individual
has policy making authority rendering his or her behavior
an act of official government policy, Pembaur v. City of
Cincinnati, 475 U.S. 469 (1986); third, the municipality
will be liable if an official with authority has ratified the
unconstitutional actions of a subordinate, rendering such
behavior official for liability purposes. City of St. Louis
v. Praprotnik, 485 U.S. 112, 127 (1988)

 

McGreevy v. Stroup, 413 F.3d 359, 367 (3d Cir. 2005) (as
quoted in Pomykacz v. Borough of W. Wildwood, 438 F.
Supp. 2d 504, 515 (D.N.J. 2006))

Here, there is no evidence of (1) a formal policy accepted within the Borough; (2)
an individual with policy making authority who committed a tort; or (3) an official
with authority who has ratified the unconstitutional actions of a subordinate.

Therefore, the Borough cannot be held liable for the torts of any of its employees.

Additionally, for a plaintiff to prevail, he must show that the unlawful policy
or custom was the proximate cause of his injuries. The United States Supreme Court

has observed the following as to proximate cause:

As our § 1983 municipal liability jurisprudence illustrates,
however, it is not enough for a § 1983 plaintiff merely to
identify conduct properly attributable to the
municipality. The plaintiff must also demonstrate that,

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through its deliberate conduct, the municipality was the
‘moving force’ behind the injury alleged. That is, a
plaintiff must show that the municipal action was taken
with the requisite degree of culpability and must
demonstrate a direct causal link between the municipal
action and the deprivation of federal rights. Bd. of the Cty.
Comm’rs of Bryan Cty., Okl. v. Brown, 520 U.S. 397, 404
(1997); also Watson v. Abington Twp., 478 F.3d 144, 156
(3d Cir. 2007); Bielevicz v. Dubinon, 915 F.2d 845, 850
(3d Cir. 1990).

 

Here, Plaintiff has not demonstrated that the Borough was the “moving force”
behind his alleged injury. Plaintiff has not questioned Officer Kudlacik’s training or
whether there were retaliatory policies and procedures in place generally. Further,
he has not retained an expert to opine on whether the Borough had policies or
practices that violated its citizens’ constitutional rights. While a plaintiff must
produce evidence of custom or policy to succeed against the municipal defendants
under §1983, it is well established that expert testimony is not required. See,
e.g., Beck v. City of Pittsburgh, 89 F.3d 966, 975-76 (3d Cir. 1996). Plaintiff has
failed to produce any evidence of a Borough policy or custom that violated the rights
of Plaintiff or the Borough’s citizens’ rights generally as alleged in Count VIII,
Municipal Liability. Therefore, the Borough is entitled to summary judgment on this

issue.

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POINT I: DEFENDANTS ARE ENTITLED TO

SUMMARY JUDGMENT AS MATTER OF LAW
Summary judgment may be entered where the Court is satisfied that “ ‘the
pleadings, depositions, answers to interrogatories, and admissions on file, together
with the affidavits, if any, show that there is no genuine issue as to any material
fact and that the moving party is entitled to judgment as a matter of law.’” Celotex

Corp. v. Catrett, 477 U.S. 317, 322 (1986) (citing Fed. R. Civ. P. 56).

An issue is “genuine if it is supported by evidence such that a reasonable jury

could return a verdict in the nonmoving party’s favor.” Anderson v. Liberty Lobby,

 

Inc., 477 U.S. 242, 248 (1986). A fact is “material” if, under the governing
substantive law, a dispute about the fact might affect the outcome of the suit. Id. “In
considering a motion for summary judgment, a district court may not make
credibility determinations or engage in any weighing of the evidence; instead, the
nonmoving party’s evidence ‘is to be believed and all justifiable inferences are to be
drawn in his favor.’” Marino v. Indus. Crating, Co., 358 F.3d 241, 247 (3d Cir. 2004)

(citing Anderson, 477 U.S. at 255); see McDonnell Cert. also Pignataro, v. Port

 

Auth. Of New York & New Jersey, 593 F.3d 265, 268 (3d Cir. 2010).

The moving party bears the burden of establishing the absence of genuine

issue of material fact. Celotex, 477 U.S. at 323. “[A] party see McDonnell Cert.

 

king summary judgment always bears the initial responsibility of informing the
district court of the basis for its motion, and identifying those portions of the ‘the

pleadings, depositions, answers to interrogatories, and admissions on file, together

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with the affidavits, if any,’ which it believes demonstrate the absence of a genuine
issue of material fact.” Ibid (citation omitted). “Although the initial burden is on the
summary judgment movant to show the absence of a genuine issue of material fact,
‘the burden on the moving party may be discharged by ‘showing’—that, is pointing
out to the district court—that there is an absence of evidence to support the
nonmoving party’s case’ when the nonmoving party bears the ultimate burden of
proof.” Singletary v. Pa. Dept. of Corr., 266 F.3d 186, 192 n.2 (3d Cir. 2001)
(quoting Celotex, 477 U.S. at 325).

 

Once the moving party has met its burden, the nonmoving party must
identify competent evidence of specific facts showing that there is a genuine issue

for trial. Celotex, 477 U.S. at 324. A “party opposing summary judgment may not

 

rest upon the mere allegations or denials of the ... pleading[s.]” Saldana v. Kmart
Corp., 260 F.3d 228, 232 (3d Cir. 2001) (internal quotations omitted). To defeat a
properly supported motion for summary judgment, the nonmoving party must
identify specific facts and affirmative evidence that contradict those offered by the

moving party. Woloszyn v. County of Lawrence, 396 F.3d 314, 319 (3d Cir. 2005).

 

“{U]nsupported allegations . . . and pleadings are not sufficient to repel summary

judgment.” Schoch v. First Fidelity Bancorp., 912 F.2d 654, 657 (3d Cir. 1990).

Summary judgment was affirmed in Alfano v. Schaud, 429 N.J. Super. 469
(App. Div. 2013), where the plaintiff asserted that the defendant police officer
violated his civil rights by detaining him for forty (40) minutes, but the evidence

revealed the plaintiff was only detained for nine (9) minutes. The Appellate

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Division held that when no reasonable jury could believe the story of plaintiff, the

court should not adopt the plaintiff's version of the facts.

Here, Plaintiff asserts that his civil rights were violated when he was charged
and arrested for insurance fraud and tampering with official documents as
retaliation for his criticism of Borough officials. The credible evidence reveals that
the Plaintiff completed a First Report of Injury after the alleged hit-and-run
(McDonnell Cert., at Exhibit “F”) and the WPD investigated the claim and found
no evidence that it occurred (McDonnell Cert. Exhibit “E”). The undisputed facts
establish that Plaintiff was interrogated and Officer Kudlacik determined there to
be probable cause to bring charges (McDonnell Cert. Exhibit “R”). A warrant was
then properly issued for his arrest (see McDonnell Cert. Exhibit “R’). There was
no communication between Officer Kudlacik and defendant Baginski relating to
the decision to charge Plaintiff, let alone to conspire against Plaintiff in retaliation
for his criticism. As such, the court should not adopt Plaintiffs version of the facts

when no reasonable jury could believe them.

Defendants did not violate Plaintiff's civil rights, Officer Kudlacik and the
Borough are entitled to qualified immunity, and the Borough cannot be liable as a
matter of law. There is no dispute as to any material fact, therefore summary

judgment should be granted in favor of Defendants.

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CONCLUSION

For the foregoing reasons, Defendants respectfully submit that summary
judgment be granted in their favor and Plaintiff's Complaint be dismissed with

prejudice.

Respectfully submitted,

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Borough of Wallington and Sean Kudlacik

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MARY C. MCDONNELL

 

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